USCA4 Appeal: 23-1313      Doc: 43           Filed: 08/26/2024   Pg: 1 of 4




                                              UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                                No. 23-1313


        UNIVERSAL LIFE INSURANCE COMPANY,

                     Plaintiff – Appellee,

              v.

        GREG E. LINDBERG,

                     Defendant – Appellant.



        Appeal from the United States District Court for the Middle District of North Carolina, at
        Greensboro. Loretta C. Biggs, District Judge. (1:20-cv-00681-LCB-JEP)


        Argued: January 23, 2024                                       Decided: August 26, 2024


        Before HEYTENS and BENJAMIN, Circuit Judges, and MOTZ, Senior Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        ARGUED:       William G. Whitehill, CONDON TOBIN SLADEK THORNTON
        NERENBERG, PLLC, Dallas, Texas, for Appellant. Christopher Grafflin Browning, Jr.,
        TROUTMAN PEPPER HAMILTON SANDERS LLP, Raleigh, North Carolina, for
        Appellee. ON BRIEF: Aaron Z. Tobin, CONDON TOBIN SLADEK THORNTON
        NERENBERG, PLLC, Dallas, Texas; Matthew N. Leerberg, FOX ROTHSCHILD LLP,
        Raleigh, North Carolina, for Appellant. Michael B. Cohen, TROUTMAN PEPPER
        HAMILTON SANDERS LLP, Raleigh, North Carolina; Luis Fernando Llach-Zuniga,
        CASILLAS, SANTIAGO &amp; TORRES LLC, San Juan, Puerto Rico, for Appellee.
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        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               Defendant-Appellant Greg E. Lindberg appeals the district court’s grant of Plaintiff-

        Appellee Universal Life Insurance Company’s (“ULICO”) motion for summary judgment.

        This dispute concerns whether a guaranty agreement executed between Lindberg and

        ULICO makes Lindberg personally liable for an arbitration award entered against a

        company Lindberg wholly owned.

               In 2017, ULICO reached out to Lindberg’s insurance company, Private Bankers

        Life and Annuity, Ltd. (“PBLA”), regarding a potential reinsurance agreement. After an

        evaluation that Lindberg personally participated in, ULICO and PBLA entered into a

        reinsurance agreement. Additionally, “Lindberg [personally] entered into a Guaranty

        Agreement with [ULICO].” J.A. 1252.

               In February 2020, ULICO “initiated arbitration proceedings against PBLA,” and

        asserted that Lindberg “drained over $524 million cash-equivalent assets . . . from the

        [ULICO] trust account and replaced them with assets that do not conform.” J.A. 1254.

        The arbitral panel awarded judgment to ULICO. The arbitral award found PBLA at fault

        and “ordered PBLA to pay [ULICO] $524,009,051.26 within ten days of the entry of the

        award.” J.A. 1255. The award was confirmed by a final judgment in the United States

        District Court for the Southern District of New York.

               When PBLA failed to pay the arbitration award within the prescribed time, ULICO

        filed a breach of contract action against Lindberg in the United States District Court for the

        Middle District of North Carolina, the venue prescribed by the guaranty agreement. After

        discovery, ULICO filed a motion for summary judgment where it argued that the arbitral

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        award was conditioned on a breach of the reinsurance agreement, which unlocked

        Lindberg’s obligations under the guaranty agreement.

               The district court granted ULICO’s motion for summary judgment. See J.A. 1316–

        18. The court adopted the report and recommendation of the magistrate judge, finding that

        “the Parties agree that a valid Guaranty Agreement exists between the Parties,” satisfying

        the requirement that there be a contract. See J.A. 1258. The court observed that the

        guaranty agreement contained unambiguous language regarding Lindberg’s obligation to

        cover PBLA’s obligations under the reinsurance agreement, finding that “there is no

        ambiguity and no genuine issue of material fact as to . . . [the] issues on [ULICO’s] breach

        of contract claim.” Id. at 1261; see also id. at 1259–63.

               After careful review of the record and with the benefit of oral argument, we find no

        error in the district court’s well-reasoned ruling. We therefore reject Lindberg’s arguments

        on appeal. The district court’s order is

                                                                                      AFFIRMED.




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